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 1                                      CERTIFICATE OF SERVICE
 2          The certify that on May 24, 2018, I electronically transmitted the attached document to the
 3   Clerk’s Office using the CM/ECF System for filing and transmittal and a Notice of Electronic Filing
 4   was electronically transmitted from the court to the e-mail address on file.
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 6                                                 /s/ Marcie Boyle
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